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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              OXFORD DIVISION

MARTHA FAYE CLARK                                                          PLAINTIFF

V.                                           CIVIL ACTION NO. 3:21-cv-001-NBB-JMV

CROWN CORK AND SEAL                                                      DEFENDANT

                                           ORDER

       In accordance with the memorandum opinion issued this day, it is ORDERED AND

ADJUDGED that the defendant’s motion to dismiss is GRANTED. This case is hereby

dismissed and closed.

       This 27th day of September, 2021.

                                               /s/ Neal Biggers
                                               NEAL B. BIGGERS, JR.
                                               UNITED STATES DISTRICT JUDGE
